
PER CURIAM.
We affirm the judgment of the trial court. However we agree with appellant that there are imperfections in his judgment and sentence. The present sentence does not specify the amount of credit for time served as Section 921.161(1), Florida Statutes (1975), requires. Brooks v. State, 349 So.2d 794 (Fla.2d DCA 1977). Moreover, the phrase “at hard labor” in the sentence is improper. Brooks v. State, supra. Finally, the judgment states that appellant entered a plea of guilty to the charge when in fact a jury found him guilty. We remand the case for correction of judgment and sentence, and appellant need not be present at that time.
HOBSON, Acting C. J., and OTT and DANAHY, JJ., concur.
